Case 2:24-md-03102-RJS-DAO              Document 25     Filed 05/23/24     PageID.79        Page 1 of
                                                9



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                             IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF UTAH


      IN RE: THE CHURCH OF JESUS CHRIST
      OF LATTER-DAY SAINTS TITHING                    Plaintiffs’ Submission Regarding Proposed
      LITIGATION                                                    Scheduling Order
                                                          Case No. 2:24-md-03102-RJS-DAO
                                                             Chief Judge Robert J. Shelby
      This document relates to all actions
                                                          Magistrate Judge Daphne A. Oberg



           As directed by the Court’s April 24, 2024 Order (MDL Dkt. 9), Plaintiffs in the Member

 Cases hereby propose the following Case Management Order.

 I.        PLAINTIFFS’ PRELIMINARY STATEMENT REGARDING THE
           COMMENCEMENT OF DISCOVERY

           Discovery should commence once Plaintiffs’ Interim Leadership Appointments are

 approved and they file their Consolidated Class Action Complaint. District courts enjoy broad

 discretion in determining whether a stay is necessary. Cole v. Ruidoso Municipal Schools, 43

 F.3d 1373 (10th Cir.1994). However, stays during the pendency of a motion to dismiss are

 disfavored unless the party seeking the stay can make a strong showing of necessity that failing

 to do so would severely affect the rights of others. Commodity Futures Trading Comm'n v.
Case 2:24-md-03102-RJS-DAO             Document 25        Filed 05/23/24       PageID.80       Page 2 of
                                               9



 Chilcott Portfolio Mgmt., Inc., 713 F.2d 1477, 1484 (10th Cir. 1983). “Defendants are always

 burdened when they are sued,” but the “ordinary burdens associated with litigating a case do not

 constitute undue burden.” LS3 Inc. v. Cherokee Fed. Sols., L.L.C., 2021 WL 4947284, at *4 (D.

 Colo. Aug. 26, 2021).

         While the Tenth Circuit has analogized church autonomy defenses to qualified immunity

 defenses, it has also recognized that “the doctrines and their inquiries are quite different, as are

 the reasons for addressing them early in the litigation process.” Bryce v. Episcopal Church in the

 Diocese of Colorado, 289 F.3d 648, 654 (10th Cir. 2002). Accordingly, the Tenth Circuit does

 not obligate courts to grant blanket stays of discovery any time a defendant moves to dismiss

 under qualified immunity. Cole, 43 F.3d at 1387. Such caution limits stays in cases where

 qualified immunity is asserted, including where limited discovery is necessary to resolve the

 motion to dismiss, id., where not all defendants are entitled to assert a qualified immunity

 defense, or where plaintiffs seek equitable relief. Rome v. Romero, 225 F.R.D. 640, 644 (D.

 Colo. 2004).

 II.     SCHEDULE

         All Plaintiffs in the member cases have agreed to a leadership structure for counsel that

 modifies slightly the appointment of Interim Class Counsel and Interim Liaison Counsel entered

 in Chappell, and will be submitting this proposed structure to the Court for approval. With a

 formal leadership structure, Plaintiffs anticipate submitting their Consolidated Class Action

 Complaint within 45 days of the Case Management Conference. Plaintiffs further propose that

 any response to the Consolidated Class Action Complaint be filed by Defendants within 60 days,

 oppositions by Plaintiffs to any dispositive motions be filed 60 days later, and any replies by

 Defendants be filed 30 days after such oppositions.

       In addition, Plaintiffs respectfully request that the following schedule and terms govern:
                                                   2
Case 2:24-md-03102-RJS-DAO          Document 25        Filed 05/23/24      PageID.81     Page 3 of
                                            9



      a.        Fed. R. Civ. P. 26(f)(1) Conference: (date the conference
                was held)                                                        May 20 and 22,
                                                                                 2024
      b.        Participants: (include the name of the party and attorney, if applicable)

                Plaintiffs - Scott George, James Magleby, Steven Schwartz, Frazar Thomas,
                Martin Woodward, and Beena McDonald

                Defendants - David Jordan, Mark Mester, Wes Harward
      c.        Fed. R. Civ. P 26(a)(1) Initial Disclosures: (the parties will   30 Days After
                exchange no later than the date provided)                        the
                                                                                 Consolidated
                                                                                 Class Action
                                                                                 Complaint is
                                                                                 Filed by
                                                                                 Plaintiffs
      d.        Under Fed. R. Civ. P. 5(b)(2)(E), the parties     Yes ☒          No ☐
                agree to receive all items required to be
                served under Fed. R. Civ. P. 5(a) by the
                court’s electronic-filing system or email
                transmission.

                Electronic service constitutes notice and
                service as required by those rules. The right
                to service by USPS mail is waived.

 III. PROTECTIVE ORDER
       a.    The parties anticipate the case will involve      Yes ☒          No ☐
             the disclosure of information, documents, or
             other materials that will be designated as
             confidential.
       b.    If the case will involve the disclosure of information, documents, or other
             materials that will be designated as CONFIDENTIAL, then good cause exists
             for the court to enter the court’s Standard Protective Order (SPO) under
             DUCivR 26-2:

               The litigation involves documents, information, and other materials, including
               sensitive financial and business information, that the Parties are expecting to
               produce and deem confidential in nature.
      c.       If a protective order is needed and the parties are not using the court’s SPO,
               then the court’s SPO, in effect under DUCivR 26-2, will govern until a different
               protective order—proposed by the parties via motion under DUCivR 7-
               1(a)(4)(D)—is adopted by the court.

               The parties’ proposed protective order should identify a process to resolve all
               claims of waiver of attorney-client privilege or work-product protection,

                                                3
Case 2:24-md-03102-RJS-DAO         Document 25        Filed 05/23/24    PageID.82       Page 4 of
                                           9



               whether or not the information, documents, or other materials will be
               designated as CONFIDENTIAL or ATTORNEYS’ EYES ONLY, and this
               process must be included in the proposed protective order under Fed. R. Evid.
               502(d):

               The Parties will be conferring about the terms and scope of a proposed
               Protective Order, including the process set forth here.

               The parties have agreed to address ESI and protective order issues during the
               next 60 days.

      d.       If the parties do not anticipate the case will involve the disclosure of
               information, documents, or the materials that will be designated as
               CONFIDENTIAL, the parties still should identify, in the space below, a process
               to resolve all claims of waiver of attorney-client privilege or work-product
               protection, whether or not the information, documents, or other materials will
               be designated as CONFIDENTIAL or ATTORNEYS’ EYES ONLY, and this
               process must also be included in the proposed Scheduling Order:

               The parties plan to negotiate a protective order.

 IV. DISCOVERY PLAN
      a.     Discovery Plan: The parties agree to the      Yes ☐              No ☒
             following discovery plan.
                  If the parties disagree, clearly
                    indicate the disagreement in the space
                    below:

      b.        Discovery Subjects:

                The Parties anticipate discovery into the following areas:
                    Defendants’ solicitation of donations, including representations made
                      as to both need and disposition of such donations.
                    Defendants’ accounting for the collection, retention and disposition of
                      donations.
                    The establishment of Ensign Peak Advisors and its operations.
                    Analyses of and investigations responses to any claims of misuse of
                      donations by Defendants, including any whistleblower reports.
                    Defendants’ communications with governmental agencies regarding its
                      solicitation, collection, retention, investment of, and accounting for
                      donations, including any investigations by the SEC and IRS.
                    Accounting and reporting documents compiled by or on behalf of
                      Ensign Peak Advisors, including work papers and filings with
                      governmental entities.



                                               4
Case 2:24-md-03102-RJS-DAO         Document 25         Filed 05/23/24      PageID.83       Page 5 of
                                           9



      c.        Discovery Phases:
                    Will discovery be conducted in phases? If so, please explain.

                Plaintiffs respectfully submit that discovery should not be phased between
                class and merits discovery. At class certification, Plaintiffs will be required to
                show, among other things, that questions common to all class members
                predominate over individual issues and that a class action is the superior
                means of adjudicating the controversy. Fed. Rules Civ. Pro. 23(b)(3). Such
                proofs cannot be cleanly separated from from merits discovery, but rather are
                enmeshed. See, e.g., Smith v. Lifevantage Corp., 2020 WL 1891886 (D. Utah,
                Mar. 16, 2020) (quoting Wal-Mart Stores, Inc. v. Dukes, 565 U.S. 338, 350-51
                (2011)). As such, declining to phase discovery will expedite resolution on the
                merits and avoid derivative motion practice on the scope of discovery and
                such attendant delay.

                      Will discovery be limited to or focused on particular issues? If so,
                       please explain and identify whether discovery will be accelerated on
                       any issue and the due dates.

                Discovery will not be limited or focused on particular issues.

      d.        Electronically Stored Information: (describe how the parties will handle
                discovery of electronically stored information)

                The parties have agreed to address ESI and protective order issues during the
                next 60 days.


 V. FACT DISCOVERY
     a. Fact Discovery Limitations—
        1.   Maximum number of depositions by Plaintiff:             30 (excluding depositions
                                                                     of any experts)
           2.   Maximum number of depositions by Defendant:          One of each plaintiff
                                                                     named in the Consolidated
                                                                     Class Action Complaint
           3.   Maximum number of hours for each deposition:         7
                (unless extended by agreement of parties)
           4.   Maximum interrogatories by any party to any          50 by Plaintiffs to each
                party:                                               Defendant

                                                                     25 total as to each Plaintiff
           5.   Maximum requests for admissions by any party         Plaintiffs do not believe
                to any party:                                        that a numerical limitation
                                                                     on Requests for Admission
                                                                     is needed given the
                                                                     complexity of the issues

                                                5
Case 2:24-md-03102-RJS-DAO         Document 25          Filed 05/23/24   PageID.84        Page 6 of
                                           9



                                                                    raised in this litigation, and
                                                                    the potential efficiencies to
                                                                    be realized by properly
                                                                    framed Requests for
                                                                    Admission. However,
                                                                    each Party would reserve
                                                                    the right to challenge any
                                                                    set or sets of Requests for
                                                                    Admission as being
                                                                    improper, cumulative,
                                                                    oppressive, or otherwise
                                                                    improper.
           6.   Maximum requests for production by any party        Plaintiffs do not believe
                to any party:                                       that a numerical limitation
                                                                    on Requests for Production
                                                                    is needed given the
                                                                    complexity of the issues
                                                                    raised in this litigation.
                                                                    However, each Party
                                                                    would reserve the right to
                                                                    challenge any set or sets of
                                                                    Requests for Production as
                                                                    being improper,
                                                                    cumulative, oppressive, or
                                                                    otherwise improper.

      b.   Other Fact Discovery Deadlines—
           1.   Deadline to serve written discovery:                Initial sets of written
                                                                    discovery may be served
                                                                    45 days after Plaintiffs file
                                                                    their Consolidated Class
                                                                    Action Complaint.
           2.   Deadline for fact discovery to close:               Ten (10) months after
                                                                    Plaintiffs file their
                                                                    Consolidated Class Action
                                                                    Complaint
           3.   Deadline for supplementation of disclosures and     Date to be Set
                responses under Fed. R. Civ. P. 26(e): (optional)




                                               6
Case 2:24-md-03102-RJS-DAO              Document 25         Filed 05/23/24     PageID.85     Page 7 of
                                                9



 VI. AMENDING OF PLEADINGS AND JOINING OF PARTIES1
      a. Deadline to file a motion to amend pleadings—
         1.  Plaintiff:                                                            60 days prior to
                                                                                   the close of fact
                                                                                   discovery
              2.   Defendant:                                                      n/a

         b.   Deadline to file a motion to join additional parties—
              1.  Plaintiff:                                                       60 days prior to
                                                                                   the close of fact
                                                                                   discovery
              2.   Defendant:                                                      60 days after
                                                                                   Plaintiffs file
                                                                                   their
                                                                                   Consolidated
                                                                                   Class Action
                                                                                   Complaint

      Plaintiffs respectfully request that the focus of the pretrial schedule should run through the
      briefing of Plaintiffs’ Motion for Class Certification. To that end:

         Plaintiffs serve their papers in support of class certification, and supporting expert
          reports, two (2) months after the close of fact discovery.
         Defendants serve their papers in opposition to Plaintiffs’ Motion three (3) months after
          Plaintiffs’ papers are served. (Plaintiffs will make their experts available for deposition
          during this period).
         Plaintiffs serve their papers in further support of their Motion three (3) months after
          Defendants’ opposition papers are served. (Defendants will make their experts available
          for deposition during this period).
         The Parties will then serve Daubert motions as may be relevant to Class Certification
          one (1) month after the close of briefing on Plaintiffs’ Motion with oppositions due one
          (1) month later, and replies in further support due one (1) month later.

      In light of this schedule, Plaintiffs respectfully request that the remaining portions of
      the Standard Proposed Scheduling Order be Superseded by such a schedule, and that
      any further pretrial proceedings be set with consideration of Lexecon v. Milberg Weiss,
      523 U.S. 26, 28 (1998).

 VII. EXPERT DISCOVERY
       a. Filing of Notice of Designation required by DUCivR 26-1(a)(2)—
          1.       Parties bearing the burden of proof:                             00/00/00
          2.       Parties not bearing the burden of proof:                         00/00/00



 1 Counsel must still comply with the requirements of Fed. R. Civ. P. 15(a).


                                                     7
Case 2:24-md-03102-RJS-DAO                  Document 25       Filed 05/23/24     PageID.86      Page 8 of
                                                    9



          b.    Service of Fed. R. Civ. P. 26(a)(2) Disclosures and Reports—
                1.      Parties bearing the burden of proof:                           00/00/00
                2.      Parties not bearing the burden of proof:                       00/00/00
                3.      Rebuttal reports, if any:                                      00/00/00

          c.    Deadline for expert discovery to close:                                00/00/00

 7.     OTHER DEADLINES AND TRIAL-RELATED INFORMATION2
         a. Deadline for filing dispositive or potentially dispositive                   00/00/00
            motions: (including a motion to exclude experts when
            expert testimony is required to resolve the motion)
         b. Deadline for filing a request for a scheduling                               00/00/00
            conference for the purpose of setting a trial date if no
            dispositive motion are filed:

            May 23, 2024                     Respectfully Submitted,

                                                     MAGLEBY CATAXINOS & GREENWOOD, PC


                                                     /s/ James E. Magleby
                                                     James E. Magleby
                                                     Yevgen Kovalov

                                                     SEEGER WEISS LLP
                                                     Christopher A. Seeger (pro hac vice)
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                                                     Scott A. Kitner (pro hac vice)
                                                     Martin D. Woodward (pro hac vice)

                                                     CHIMICLES SCHWARTZ KRINER & DONLADSON-
                                                     SMITH LLP
                                                     Steven A. Schwartz (pro hac vice pending)
                                                     Beena M. McDonald (pro hac vice pending)
                                                     Marissa N. Pembroke (pro hac vice pending)

                                                     Attorneys for Plaintiffs of the Member Cases




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     The court will enter the date in Section 7.b.

                                                        8
Case 2:24-md-03102-RJS-DAO              Document 25       Filed 05/23/24    PageID.87      Page 9 of
                                                9



                                    CERTIFICATE OF SERVICE

            On this 23rd day of May 2024, I hereby certify that I electronically filed the foregoing

 Plaintiffs’ Submission Regarding Proposed Scheduling Order with the Clerk of Court using the

 CM/ECF system, which will send an electronic notification to counsel of record for all of the

 parties.

                                                       /s/ H. Evan Gibson




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